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 9
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12                                 UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14
      SELINA KEENE, MELODY FOUNTILA,              [PROPOSED] ORDER GRANTING
15    MARK MCCLURE,                               DEFENDANT’S ADMINISTRATIVE MOTION
                                                  TO ENLARGE TIME AND ALLOW
16           Plaintiffs,                          EXPEDITED DISCOVERY
                                                  [L.R. 6-3, 7-11]
17           vs.
                                                  Judge:          Honorable Jeffrey S. White
18    CITY and COUNTY OF SAN FRANCISCO

19           Defendant.                           Filed:          March 14, 2022
                                                  Trial Date:     None set
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      [PROPOSED] ORDER GRANTING ADMIN MOT                           n:\labor\li2022\220836\01686275.docx
      CASE NO. 22-cv-01587-JSW
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 1           For the good cause shown, the Court GRANTS Defendant’s Administrative Motion to enlarge

 2   time and allow expedited discovery. The Court HEREBY ORDERS: (1) the deadline for the City to

 3   respond to Plaintiffs’ Motion to Enter Order Pursuant to the Ninth Circuit’s Memorandum (Dk. No. 82

 4   (“June 23 Motion”)) is continued to August 10, 2023; (2) Plaintiffs’ reply brief shall be filed on or

 5   before ________; (3) the hearing on the June 23 Motion is continued to _____________, (4) Plaintiffs

 6   Selina Keene and Melody Fountila are ordered to sit for deposition, not to exceed four hours each, at a

 7   time and date that allows the Defendant adequate time to obtain a transcript of those depositions in

 8   advance of August 10, 2023, and (4) Keene and Fountila’s depositions shall remain open, and the time

 9   Keene and Fountila spend in the preliminary injunction depositions shall not count against the seven-

10   hour limit set forth in Federal Rule of Civil Procedure 30.

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     IT IS SO ORDERED.
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     Date:
14                                                           HONORABLE JEFFREY S. WHITE
15                                                           United States District Judge

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      [PROPOSED] ORDER GRANTING ADMIN MOT                                           n:\labor\li2022\220836\01686275.docx
      CASE NO. 22-cv-01587-JSW
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